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                               EXHIBIT 1
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2021 FOREIGN LIMITED LIABILITY COMPANY ANNUAL REPORT                  FILED
DOCUMENT# M15000007557                                            Apr 22, 2021
Entity Name: CRYSTAL CRUISES, LLC                               Secretary of State
                                                                 5469056846CC
Current Principal Place of Business:
1501 BISCAYNE BLVD
 SUITE 501
MIAMI, FL 33132-1460


Current Mailing Address:
1501 BISCAYNE BLVD
SUITE 501
MIAMI, FL 33132-1460 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
CORPORATION SERVICE COMPANY
1201 HAYS STREET
TALLAHASSEE, FL 32301 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MANAGER                                                                        Title                  MANAGER
Name                   AU, FOOK YEW                                                                   Name                   HOPPE, JESSICA S.
Address                1501 BISCAYNE BLVD                                                             Address                1501 BISCAYNE BLVD
                       SUITE 501                                                                                              SUITE 501
City-State-Zip:        MIAMI FL 33132-1460                                                            City-State-Zip:        MIAMI FL 33132-1460

Title                  MANAGER                                                                        Title                  MANAGER
Name                   JONES, KEVIN C.                                                                Name                   ANDERSON, JACK DU WAYNE
Address                624 E. 19TH STREET                                                             Address                1501 BISCAYNE BLVD
                                                                                                                              SUITE 501
City-State-Zip:        BROOKLYN NY 11230
                                                                                                      City-State-Zip:        MIAMI FL 33132-1460
Title                  MANAGER
Name                   CELORIO, RICARDO JAVIER
Address                1501 BISCAYNE BLVD
                       SUITE 501
City-State-Zip:        MIAMI FL 33132-1460




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: JESSICA S. HOPPE                                                                                            MANAGER                                            04/22/2021
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
